                                                                         United States District Court
                                                                           Southern District of Texas

                                                                              ENTERED
                      UNITED STATES DISTRICT COURT                          January 31, 2017
                       SOUTHERN DISTRICT OF TEXAS                          David J. Bradley, Clerk
                          BROWNSVILLE DIVISION


MEDWIN FAMILY MEDICINE                   §
AND REHABILITATION, P.L.L.C.,            §
Plaintiff,                               §
                                         §
v.                                       §            Case No. 1:15-cv-151
                                         §
SYLVIA MATHEWS BURWELL,                  §
Secretary, United States Department      §
of Health and Human Services,            §
Defendant.                               §


                          MAGISTRATE JUDGE’S
                      REPORT AND RECOMMENDATION

      Plaintiff Medwin Family Medicine and Rehabilitation, P.L.L.C. (hereinafter

referred to as “Medwin”) has filed a Motion for Summary Judgment in this civil action.

Dkt. No. 24.   Defendant Sylvia Mathews Burwell, Secretary of the United States

Department of Health and Human Services (hereinafter, “the Secretary”) has filed a

Cross Motion for Summary Judgment. Dkt. No. 27. After full consideration of both

Motions for Summary Judgment and all related submissions, it is recommended that

the Court: (1) grant the Secretary’s Cross Motion for Summary Judgment; (2) deny

Medwin’s Motion for Summary Judgment; and, (3) dismiss this civil action with

prejudice.



                     I. Background, Jurisdiction and Venue

      This civil action arises under the Medicare Act, which is codified at 42 U.S.C.

§ 1395 et seq. The Medicare Act is part of Title XVIII of the Social Security Act.

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Baylor Univ. Med. Ctr. v. Heckler, 730 F.2d 391, 391 (5th Cir. 1984) (per curiam). The

Medicare Act was established to provide health insurance to the elderly and disabled.

D&G Holdings, LLC v. Sylvia Mathews Burwell, 156 F. Supp. 3d 798, 805 (W.D. La.

2016) (citing 42 U.S.C. §§ 1395-1395lll). The Medicare Act is composed of Parts A, B,

C, D, and E. 42 U.S.C. § 1395 et seq. This civil action concerns Part B. See Dkt. No. 1

at ¶ 18; Dkt. No. 27 at 2.

       Part B of the Medicare program provides voluntary, supplemental medical

insurance.    42 U.S.C. § 1395j.     It covers “medical and other health-care services,”

including “diagnostic tests[.]” Id. at § 1395k(a)(1), and § 1395x(s)(3). The Secretary

administers the Medicare program through the Centers for Medicare and Medicaid

Services (“CMS”). Arkansas Dep’t of Health & Human Servs. v. Ahlborn, 547 U.S. 268,

275 (2006); Miracle Care Hospice, Inc. v. Sebelius, No. 3:12-CV-495-CWR-FKB, 2014

WL 1324279, at *1 (S.D. Miss. Mar. 31, 2014) (same). Through CMS, the Secretary

utilizes Medicare contractors to assist with Part B claim determinations. 42 U.S.C.

§ 1395u.

       Medwin is a provider of healthcare services to Medicare beneficiaries under

Part B. Dkt. No. 1 at ¶ 7; Dkt. No. 17 at ¶ 7. Medwin’s principal office is located in

Brownsville, Texas. Dkt. No. 1 at ¶ 5.1          As part of its services, Medwin provides

electrodiagnostic studies to help diagnose and treat its patients. Id. at ¶ 17. Medwin

performed electrodiagnostic studies on six Medicare patients in 2012. Id. at ¶ 1, 19.




1 As the Secretary agrees that the material facts of this case are undisputed (see Dkt. No. 22
at 1; Dkt. No. 27 at 2), the Court recites material facts primarily from Medwin’s pleadings.
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Specifically, Medwin performed various sensory and nerve conduction tests for

patients presenting with symptoms of radiculopathy/sciatica. Id. at ¶ 25.2

      Medicare paid Medwin’s claims for these tests initially. Dkt. No. 1 at ¶ 26.

Later, however, a Medicare contractor, Novitas Solutions, Inc., (“Novitas”), determined

that Medicare had overpaid Medwin and sought to recoup the payments. Id. Medwin

proceeded to appeal this decision administratively. Id. at ¶¶ 20-22. On June 24, 2015,

the Medicare Appeals Council (hereinafter, the “Council”) entered a final decision

denying Medwin’s appeal.       According to the Council, Medwin was overpaid in the

amount of $585.32 for each of the six patients at issue. Administrative Record (“AR”)

at 14, 194-210, 1000-1008.3 Medwin seeks judicial review of the Council’s decision.

Dkt. No. 1 at ¶ 1.

      The parties agree that, pursuant to 42 U.S.C. § 405.1136(d), the Secretary is the

proper defendant in this action as the adopter and issuer of final decisions made by

the Council.   Dkt. No. 1 at ¶¶ 4 and 6; Dkt. No. 17 at ¶¶ 4 and 6.             The parties

additionally agree that Medwin’s Original Complaint is timely, the amount in

controversy is satisfied, and all conditions precedent to filing suit have been met. Dkt.

No. 1 at ¶¶ 4, 6, 15; Dkt. No. 17 at ¶¶ 4, 6, 15.         Jurisdiction and venue are not

disputed. Dkt. No. 1 at ¶ 4; Dkt. No. 17 at ¶ 4. The Court finds that: (1) the Secretary



2 As relevant in this case, radiculopathy and sciatica are synonymous terms. See Dkt. No. 27-
7 at 26 (referring to “Radiculopathy (i.e., sciatica)”). See also Dkt. No. 27 at 9, note 6
(“Sciatica, also known as lumbar radiculopathy, is a pain that originates along the sciatic
nerve, which extends from the back of the pelvis down the back of the thigh. Johns Hopkins
Health     Library:    www.hopkinsmedicine.org/healthlibrary/conditions/spine_shoulder_and_
Pelvis_disorders/sciatica_85,p01382/).

3 The Court will cite the Administrative Record according to its page numbers 1-1260, as both
parties have done in their pleadings.
                                                                                         3/35
is the proper defendant in this action; (2) Medwin’s Original Complaint is timely; (3)

the amount in controversy is satisfied; (4) all conditions precedent have been met; (5)

jurisdiction and venue are proper; and, (6) this Court may review the Council’s

June 24, 2015 decision as the Secretary’s final, appealable decision. See 42 U.S.C.

§ 405(g), § 405.1006(c), § 405.1130, § 405.1136; § 1395ff(b).      See also AR at 3

(containing the Council’s explanation of the requirements for judicial review of its

decision).



                                 II. Legal Standards

      A. FED. R. CIV. P. 56. The standard applied when ruling on a motion for

summary judgment is set forth in Rule 56 of the Federal Rules of Civil Procedure.

FED. R. CIV. P. 56(a). In pertinent part, Rule 56 provides that the court “shall grant

summary judgment if the movant shows that there is no genuine dispute as to any

material fact and the movant is entitled to judgment as a matter of law.” Id., see also

Celotex Corp. v. Catrett, 477 U.S. 317, 322, 106 S.Ct. 2548, 2552 (1986) (same). Mere

allegations of a factual dispute between the parties will not defeat an otherwise proper

motion for summary judgment. Rule 56 requires that there be no genuine issue of

material fact. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247 (1986).

      A fact is material if it might affect the outcome of the lawsuit under the

governing law.   Anderson, 477 U.S. 242, 248.      A dispute about a material fact is

genuine if the evidence is such that a reasonable jury could return a verdict for the

nonmoving party. Id. Therefore, summary judgment is proper if, under governing

laws, there is only one reasonable conclusion as to the verdict. If reasonable finders of

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fact could resolve a factual issue in favor of either party, summary judgment should

not be granted. Id. at 249.

       The movant on a summary judgment motion bears the initial burden of

providing the court with a legal basis for its motion and identifying those portions of

the record which demonstrate the absence of a genuine issue of material fact. The

burden then shifts to the resisting party to present affirmative evidence to defeat the

motion. Anderson, 477 U.S. 242, 257. All facts and inferences drawn from those facts

must be viewed in the light favorable to the party resisting the motion for summary

judgment. Scott v. Harris, 550 U.S. 372, 378 (2007). “The court need consider only the

cited materials, but it may consider other materials in the record.” FED. R. CIV. P.

56(c)(3).

       B. The Court’s Review of the Secretary’s Decision. In Girling Health

Care, Inc. v. Shalala, the Fifth Circuit noted:

       The summary judgment procedure is particularly appropriate in cases in
       which the court is asked to review or enforce a decision of a federal
       administrative agency. The explanation for this lies in the relationship
       between the summary judgment standard of no genuine issue as to any
       material fact and the nature of judicial review of administrative
       decisions. . . . [T]he administrative agency is the fact finder. Judicial
       review has the function of determining whether the administrative action
       is consistent with the law—that and no more.

Girling Health Care, Inc. v. Shalala, 85 F.3d 211, 214–15 (5th Cir. 1996) (alterations

in original) (quoting 10A Charles Alan Wright, Arthur R. Miller & Mary Kay Kane,

Federal Practice and Procedure: Civil 2d § 2733 (1983)). Section 1395ff(b) of Title 42

provides that any individual dissatisfied with the Secretary’s final decision regarding




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a claim may obtain judicial review as provided in 42 U.S.C. § 405(g).          42 U.S.C.

§ 1395ff(b).

      Where § 405(g) governs, review of the Secretary’s decision is limited to two

inquiries:     (1) whether the Secretary applied the correct legal standards; and (2)

whether there is substantial evidence in the record to support the Secretary’s decision.

Estate of Morris v. Shalala, 207 F.3d 744, 745 (5th Cir. 2000) (citing Paul v. Shalala,

29 F.3d 208, 210 (5th Cir. 1994) and Anthony v. Sullivan, 954 F.2d 289, 292 (5th Cir.

1992)); Maxmed Healthcare, Inc., v. Burwell, 152 F.Supp.3d 619, 625 (W.D. Tex. 2016)

(same).      When considering whether the Secretary applied correct legal standards,

courts are required to give “substantial deference” to her interpretation of Medicare’s

regulations. Maxmed Healthcare, Inc., 152 F.Supp.3d 619, 625 (citing Girling Health

Care, 85 F.3d at 215).      When considering whether substantial evidence exists to

support the Secretary’s decision, courts must be mindful that substantial evidence is

more than a mere scintilla. Id. Substantial evidence is “such relevant evidence as a

reasonable mind might accept as adequate to support a conclusion.”           Id. (quoting

Richardson v. Perales, 402 U.S. 389, 401 (1971) and Consol. Edison Co. v. N.L.R.B.,

305 U.S. 197, 229 (1938)). The reviewing court “‘may neither reweigh the evidence in

the record nor substitute [its own] judgment for the Secretary’s.’” Id. (quoting Hollis v.

Bowen, 837 F.2d 1378, 1383 (5th Cir. 1988)).

      Despite the longstanding existence of the above-discussed standard of review,

Medwin argues that that the Fifth Circuit has “issued conflicting opinions regarding

the appropriate standard of review.” Dkt. No. 24 at 10.



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       In Estate of Morris, the Court rejected a party’s contention that the
       Administrative Procedure Act (“APA”) provided the standard of review.
       207 F.3d at 745. However, in Texas Clinical Laboratories, Inc. v.
       Sebelius, the Court cited the APA without any expression of doubt. 612
       F.3d 771, 775 (5th Cir. 2010) (“Under the Administrative Procedures Act
       (“APA”), “[t]he district court, and this court . . . may overturn the
       Secretary’s ruling only if it is arbitrary, capricious, an abuse of discretion,
       not in accordance with law, or unsupported by substantial evidence on
       the record taken as a whole.”) (quoting Sun Towers, Inc. v. Schweiker
       (Sun Towers I), 694 F.2d 1036, 1038 (5th Cir. 1983)).

Id. (errors in original).

       Medwin argues that the Court should follow Texas Clinical Laboratories, and

apply the “arbitrary and capricious” APA standard for three main reasons. Dkt. No.

24 at 10-12; Dkt. No. 32 at 2-4. First, Medwin argues that Texas Clinical Laboratories

is the most recent pronouncement of the standard of review and “at least one court in

this district has followed it.” Dkt. No. 24 at 10 (citing Transyd Enters., L.L.C. v.

Sebelius, No. M–09–292, 2012 WL 1067561 (S.D. Tex. Mar. 27, 2012)).                 Second,

Medwin states that other circuits, and courts within those circuits, apply the APA

standard. Id. at 11-12; Dkt. No. 32 at 3-4. Third, Medwin asserts that the § 405(g)

standard provides “for a substantial evidence review, but little more.” Dkt. No. 24 at

11. Medwin indicates that § 405(g) should be supplemented by the APA standard

because the APA “‘sets forth the full extent of judicial authority to review executive

agency action for procedural correctness.’” Id. at 11-12 (citing “FCC v. Fox Television

Stations, Inc., 556 U.S. 502, 513 (2009); Gentiva Healthcare Corp. v. Sebelius, 857 F.

Supp. 2d 1, 6 (D.C. Dist. Apr. 6, 2012)). Medwin claims that the cases it relies upon

should be followed by this Court because they concern Medicare debts, and/or




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interpret provisions within the Social Security Act. Dkt. No. 24 at 10-12; Dkt. No. 32

at 2-4.

          In her Response in Opposition to Plaintiff’s Motion for Summary Judgment

(hereinafter, the Secretary’s “Response”), the Secretary states that Medwin’s claim,

that the arbitrary and capricious standard applies here, is incorrect. Dkt. No. 31 at 2,

note 1.      The Secretary notes that Medwin is relying upon “cases that apply the

standard of review articulated in non-Social Security appeals.” Id. The Secretary

avers that Medwin brought this action pursuant to 42 U.S.C. § 1395ff(b)(1)(A), “which

incorporates the standards and procedures of 42 U.S.C. § 405(g), i.e., the “substantial

evidence” standard. Id.4

          The Secretary’s argument is supported by binding Fifth Circuit authority. In

Estate of Morris v. Shalala, the Fifth Circuit addressed the plaintiff’s argument that

the APA standard of review was the correct standard of review. The Fifth Circuit

explained that this was not accurate.

          Notwithstanding these authorities, Morris contends that the standard of
          review is found in the Administrative Procedure Act (“APA”). But the
          estate cites Hennepin County Medical Center v. Shalala, 81 F.3d 743 (8th
          Cir. 1996), which did not arise from an individual’s appeal of a
          Secretary's denial of benefits under 42 U.S.C. § 1395ff(b). Hennepin
          instead involved a provider's appeal under 42 U.S.C. § 1395oo(f)(1) for
          reimbursement of unrecovered expenses incurred by Medicare patients.
          As § 1395oo(f)(1) does not incorporate § 405(g), Hennepin is inapposite.
          The § 405(g) standard controls.


4 The Secretary’s response is somewhat inconsistent with an earlier representation to this
Court. In the parties’ Joint Statement of Undisputed Facts, both parties appear to suggest
that the APA standard of review applies, along with the § 405(g) standard of review. Dkt. No.
22 at 1-2. Nevertheless, this case does not turn on whether the APA standard of review
applies. For the reasons provided below, Medwin has not demonstrated that the Secretary
abused its discretion or otherwise acted arbitrarily or capriciously because Medwin has not
shown that the Secretary erred in the first instance.
                                                                                         8/35
Estate of Morris v. Shalala, 207 F.3d 744, 745 (footnote omitted).

      Like the plaintiff in Estate of Morris, Medwin primarily relies upon cases that

were not brought pursuant to 42 U.S.C. § 1395ff(b). See Dkt. No. 24 at 10-12; Dkt. No.

32 at 2-4. Texas Clinical Laboratories, for example, was not brought pursuant to 42

U.S.C. § 1395ff(b), and is distinguishable from Estate of Morris. Having failed to cite

any on-point Fifth Circuit or Supreme Court authority displacing Estate of Morris, this

Court finds that Medwin has failed to show that the APA standard of review is

applicable here.    Accordingly, the applicable standard of review is the standard

provided in 42 U.S.C. § 405(g). See Estate of Morris v. Shalala, 207 F.3d 744, 745

(rejecting the application of the APA standard, and applying 42 U.S.C. § 405(g));

United Medical Healthcare, Inc. v. Department of Health and Human Services, 889 F.

Supp. 2d 832, 839–40 (E.D. La., 2012) (same).



                    III. Medwin’s Claims and the Secretary’s
                    Procedures, Requirements, and Decisions

      With respect to the six patients at issue, Medwin claims that it was underpaid,

rather than overpaid, for its services. Dkt. No. 1 at ¶ 26. Medwin additionally argues

that it exercised reasonable care in billing and accepting payment from Medicare for

its services. Id. at ¶ 34. Because it exercised reasonable care, Medwin states that it

should be considered “‘without fault’ for any overpayment” pursuant to 42 U.S.C.

§ 1395gg(b). Id. Medwin contends that the alleged overpayments were wrongfully

recouped. Therefore, Medwin should be reimbursed, with interest, along with its court

costs and attorneys’ fees. Id. at ¶¶ 26, 49.


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      As will be made clear below, reviewing the merits of Medwin’s allegations

requires an understanding of Medicare’s procedures and requirements, along with the

Secretary’s decisions in this particular case. Accordingly, before examining Medwin’s

claims, the Court will briefly describe Medicare’s relevant procedures and

requirements, in conjunction with the Secretary’s decisions.

      A. Medicare’s Administrative Procedures and Requirements. Medicare

contractors make the initial determination on claims submitted under Part B by

applying the Secretary’s policies and regulations. 42 U.S.C. § 1395ff(a)(1); Willowood

of Great Barrington, Inc. v. Sebelius, 638 F.Supp.2d 98, 104 (D. Mass. 2009).5 The

policies and regulations involved in determining Medicare claims are varied and

somewhat complex.

      In making coverage decisions, Medicare contractors rely on regulations
      promulgated by HHS, as well as on National Coverage Determinations
      (“NCDs”)—made by CMS—and Local Coverage Determinations
      (“LCDs”)—made by [local Medicare contractors]. The Secretary adopts
      NCDs to exclude certain items and services from coverage on a national
      level that are not “reasonable and necessary” under the agency's
      interpretation of the Medicare statute. See 42 U.S.C. § 1395ff(f)(1)(B).
      These determinations are binding on all Medicare contractors
      nationwide. When no NCD applies to a claim, Medicare contractors must
      still apply the “reasonable and necessary” limitations in LCDs in
      determining whether to pay a claim and in what amount. . . . Although
      “reasonable and necessary” is not defined in the Medicare statute,
      Congress has vested final authority in the Secretary to determine what
      items or services are “reasonable and necessary.” See 42 U.S.C. §
      1395ff(a); Heckler v. Ringer, 466 U.S. 602, 617, 104 S.Ct. 2013, 80 L.Ed.2d
      622 (1984). In accordance with this authority, the Secretary has
      promulgated regulations relating to the “reasonable and necessary”
      requirement. CMS has also issued NCDs specifying conditions for
      Medicare coverage of certain items and services. Finally, contractors
      have also issued LCDs and policy guidance to address local coverage
      issues.

5 The contractors are usually private insurance companies or other independent entities. 42
U.S.C. § 1395kk-1; Willowood of Great Barrington, Inc., 638 F.Supp.2d 98, 104.
                                                                                      10/35
C & I Medical Equipment and Supplies, Inc. v. Sebelius, 2010 WL 2376165, at *1 (E.D.

Mich., 2010) (formatting altered).

      If a provider of Medicare services wishes to appeal a Medicare contractor’s

initial determination, they must proceed through the following five steps:

      1. Redetermination. A redetermination is an examination of the
      initial claim decision. 42 C.F.R. § 405.940 et seq.

      2. Reconsideration. A reconsideration is an independent review
      performed by a Qualified Independent Contractor (QIC). 42 C.F.R.
      § 405.960 et seq.

      3. Administrative Law Judge (ALJ) Hearing. If the minimum
      amount of controversy is met, a hearing before an ALJ may be requested.
      42 C.F.R. §§ 1002(a)(2), 405.1006(b).

         When an appellant requests escalation of a case to the Council
         without ALJ action, and procedural requirements are met, “the QIC
         decision becomes the decision that is subject to Council review
         consistent with 405.1102(a).” 42 C.F.R. § 405.1108(a). The Council
         reviews the QIC reconsideration de novo. Id. The Council may
         adopt, modify, or reverse the QIC reconsideration or remand the
         case to an ALJ for further proceedings. Id. The Council may also
         dismiss the request for escalation because the appellant does not
         have the right to escalate the appeal. Id. § 405.1108(d)(4). The
         Council may also dismiss the request for a hearing for any reason
         that the ALJ could have dismissed the request. Id. § 405.1108(d)(5).

      4. Medicare Appeals Council Review. If a provider or beneficiary is
      dissatisfied with an ALJ decision, they may request review by the
      Council. 42 C.F.R. § 405.1102(a). The Council may also decide on its own
      motion to review a decision of the ALJ. 42 C.F.R. § 405.1110.

      5. Judicial Review in a United States District Court. Judicial
      review of the Council’s decision may be requested within 60 days of the
      decision, if the minimum amount remaining in controversy is met. 42
      U.S.C. § 1395ff(b)(1)(E); 42 C.F.R. § 405.1136; 42 C.F.R. § 405.1130.




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Dkt. No. 27 at 8-9 (formatting altered). See also Dkt. No. 24 at 8-10 (same).6

      B. The Secretary’s Decisions. Medicare contractor Novitas made the initial

determinations that Medicare had overpaid Medwin in all six cases. AR at 194, 1000.

The parties agree that Medwin followed the above-described process in appealing

Novitas’s decisions. Dkt. No. 1 at ¶¶ 9-14; Dkt. No. 17 at ¶¶ 9-14. At step one,

Novitas granted Medwin’s requests for a redetermination, but declined to alter its

decisions. At step two, the QIC granted Medwin’s requests for reconsideration, but

affirmed Notivas’s decisions. At step three, Medwin sought a hearing before an ALJ.

Because there was a backlog of cases before the ALJ, Medwin escalated its appeal and

sought review before the Council.      At step four, the Council affirmed the QIC’s

reconsideration decisions in all six cases.    Pursuant to step five, Medwin filed its

Original Complaint in this District Court. Id.

      The parties agree that, in each of the six cases, the Council found that Medwin

had performed diagnostic tests that were not medically reasonable and necessary.

Dkt. No. 1 at ¶¶ 28-30; Dkt. No. 17 at ¶¶ 28-30. More specifically, the Council found

that Medwin conducted “additional motor and nerve sensory tests beyond what the

Utilization Guidelines chart in the LCD L26776” indicated “were necessary to treat

each specific beneficiary’s condition.” AR at 12.

      Again, an LCD is a “Local Coverage Determination.” C & I Medical Equipment

and Supplies, Inc. v. Sebelius, 2010 WL 2376165, at *1. LCD L26776 pertains to

“Electrodiagnostic Studies (NCS/EMG).” Dkt. No. 27-7 at 2. LCD L26776 contains

“Utilization Guidelines” which list the number of diagnostic tests allowed under

6  Both parties describe this five-step procedure in their briefing, although Medwin’s
description is more detailed. Dkt. No. 27 at 8-9; Dkt. No. 24 at 8-10.
                                                                                 12/35
Medicare per patient, per year, along with the number of tests allowed per diagnosis.

Id. at 21-22, 26. Pursuant to the Health Care Financing Administration Common

Procedure Coding System (“HCPCS”), each test is identified by a code. AR at 4, note 1.

The HCPCS incorporates codes from the American Medical Association’s Current

Procedural Terminology (“CPT”) Manual. Id. See also Svidler v. U.S. Dept. of Health

and Human Services, 2004 WL 2005781, at *3 n.1 (N.D. Cal., 2004) (“The procedural

system utilized by Medicare for billing is the Health Care Financing Administration

Common Procedure Coding System (HCPCS). It is based upon the American Medical

Association’s Physicians’ Current Procedural Terminology manual, Fourth Edition

(CPT–4)[.]”).7

      The Utilization Guidelines found in LCD L26776 provide codes for diagnostic

tests, along with a corresponding number for each test, which represents the number

of tests allowed per patient, per year. Dkt. No. 27-7 at 21-22. For the tests at issue in

this case, tests coded as tests “95903” and “95904,”8 the LCD L26776 Utilization

Guidelines provide for eight tests per year, per patient for test 95903, and ten tests per

year, per patient for test 95904. Id. Relatedly, LCD L26776 contains a Utilization

Guideline Table which provides that a radiculopathy/sciatica diagnosis may generally




7 The CPT Manual, “contains a listing of descriptive terms and identifying code numbers for
the standardized reporting of approximately 7,500 medical services and procedures performed
by physicians. The purpose of CPT is to provide a uniform language that accurately describes
medical, surgical, and diagnostic services to facilitate nationwide communications among
health care workers, patients, and others.” American Soc. of Dermatology v. Shalala, 962
F.Supp. 141, 144 (D.D.C., 1996) (citations omitted).

8 See AR at 4 (noting that the six cases at issue concern Part B coverage of tests coded as
95903 and 95904); see also Dkt. No. 1 at 5-6 (same), and Dkt. No. 27 at 2 (same).
                                                                                      13/35
be established by performing no more than two 95903 “F-Wave” tests, and two 95904

“Sensory NCV” tests. Dkt. No. 27-7 at 26.

      In adopting the QIC’s reconsideration decision in the six cases, the Council

made several findings and observations.        In relevant part, those findings and

observations are as follows:

      In each instance, the QIC determined that [Medwin] performed
      additional motor and nerve sensory tests beyond what the Utilization
      Chart in the LCD indicated were necessary to treat each specific
      beneficiary’s condition. The LCD allows for coverage of additional testing
      if an appellant provides medical documentation supporting the need for
      the extra testing. [Medwin] has not done so in this case.

      . . . . [Medwin’s] hearing request [before the ALJ] did not address the
      specific denial reason in the QIC reconsiderations, i.e. that [Medwin]
      billed additional units of 95904 and 95903 without providing medical
      documentation supporting the need for the extra testing.

      Before the Council, in its supplemental briefing, [Medwin] has now
      addressed the specific denial basis of the QIC’s reconsideration decisions
      for each beneficiary. Exh. MAC-3. [Medwin] contends that under the
      LCD, “8 tests under CPT 95903 and 10 tests under CPT 95904” may be
      billed per year per patient. Id. Further, [Medwin] asserts that, per the
      medical records, the total of four sensory nerve conduction studies and
      four motor nerve conduction studies were medically necessary. See Exh.
      MAC-3 (referring to beneficiary M.V.). [Medwin] attached medical
      records which were previously sent to the QIC as well as an updated
      letter of medical necessity dated May 29, 2015. Id.

      [Medwin] is correct that the body of the LCD contains per year limits.
      However, [Medwin] did not acknowledge or submit the Utilization Chart
      (or Table) attached to the LCD which establishes limits on the number of
      tests deemed medically reasonable and necessary to evaluate certain
      diagnoses. The Council does not find that [Medwin] has adequately
      documented the need for testing additional sites greater than the
      numbers indicated in the Utilization Chart attached to LCD L26776.
      First, [Medwin] relies on language in the LCD allowing 8 and 10 tests per
      patient per year. See LCD L26776; see also Exh. MAC-3. The QIC did
      not deny the claims on the basis that [Medwin] billed more test in a year
      than is allowed. Instead, the QIC’s denial is based on the numbers of
      sites tested, on a particular date of service, for a specific diagnosis. See

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       e.g., MV File, Exh. 6 at 7. Therefore, the total number of tests allowed
       per year is not relevant in this case.

       The attachment to the LCD is clear, however, as to the maximum number
       of sites that may be billed to Medicare for the 95904 and 95903 codes on a
       particular date of service and diagnosis. In each instance, for a diagnosis
       of sciatica, [Medwin] exceeded the maximum number of tests needed to
       diagnose each beneficiary’s condition. See LCD L26776. The medical
       records provided by [Medwin] do not explain why the additional testing
       was medically necessary. Exh. MAC-3.

AR at 12-13 (errors in original).

       C.   Medwin’s Claims.         Before this Court, Medwin disputes the Council’s

finding that it failed to show that the contested, additional tests were medically

necessary to diagnose the conditions of the six patients. Dkt. No. 1 at ¶ 33. It argues

that the six patients, M.V., R.F., E.P., D.V., J.A., and R.M.,9 were all being evaluated

for the same condition, radiculopathy. Dkt. No. 24 at 15. Despite this, Medwin argues

that for four patients, “the Agency determined that 3 motor nerves should be tested[,]”

while for “one of the patients the Agency determined that 4 motor nerves should be

tested.”    Id.   Medwin contends that the QIC “randomly issues favorable and

unfavorable decisions based on nearly identical claims for identical services, but with

incoherent rationales.” Id. at 19.

       Medwin adds that, the Council found that only “2 sensory NCS” tests where

necessary to diagnose its patients, but that Medwin did the two sensory NCS tests

bilaterally because it was medically necessary. Dkt. No. 24 at 15. Medwin contends

the Council’s “denial of claims for bilateral testing is unsupported by substantial

evidence in the record.” Id. Medwin states that its billing was also proper because the


9 The six patients at issue in this case are referred to by their initials only to protect their
privacy.
                                                                                          15/35
Utilization Guidelines in LCD L26776 provide for “8 sensory NCS (95903)” tests per

year, and “10 motor NCS (95904)” tests per year. Id. It argues that its claims should

not have been denied on the grounds that it tested excessively, because it provided

“medical documentation supporting the testing[.]” Dkt. No. 30 at 4.

      Next, Medwin claims that the Court should consider the Secretary’s decisions

approving Medwin’s claims for some of its other patients, even though those patients’

claims are not at issue in this case. Dkt. No. 24 at 16-19. Medwin argues that this is

appropriate because it merely involves “completing” the record with relevant evidence

that was directly or indirectly before the Secretary’s agents. Id. at 16-18. In the

alternative, Medwin contends that it should be permitted to “supplement” the record

in this case with the records of its other patients’ claims. Id. at 18-19. Medwin states

that doing so will allow the Court to see that the Secretary applies LCD L26776

randomly, and in an arbitrary and capricious manner. Id. at 16-19.

      With respect to these other patients, Medwin argues that the QIC has paid

claims for “additional units of sensory and nerve conduction studies based on

documentation that was similar” to the documentation submitted in the six cases at

issue here. Dkt. No. 1 at ¶ 33. Medwin correctly points out that its appeal to the

Council originally involved eight beneficiaries. Dkt. No. 24 at 17. On appeal before

the Council, Medwin “prevailed on testing done to two beneficiaries by obtaining a

favorable reconsideration by the QIC.” Id. Medwin argues that, when comparing the

QIC’s decision in the two beneficiaries cases with the QIC’s decision in the six cases at

issue here, it is clear that “the reasons for the favorable and unfavorable



                                                                                   16/35
reconsiderations by the OIC [sic] are nearly identical.”         Id. at 17 (emphasis in

original).

       Relatedly, Medwin relies upon the records of patient “M.G.”, a patient whose

claim was paid. Dkt. No. 24 at 15-16.10

       [Medwin] refers to the appeal relating to M.G. AR 001208 and 001213.
       The claim was originally denied by Novitas, but the Qualified
       Independent Contractor, Q2 Administrators, determined that the claim
       was not overpaid. See Exhibit 1. Furthermore, the QIC determined that
       the LCD requirements had been met. Id. That same QIC denied claims
       for the same testing and for the same indication in the appeals made the
       basis of this lawsuit.     The decision to deny claims after having
       determined similar claims are payable is an abuse of discretion, arbitrary
       and capricious.

Id. at 16 (errors in original). See also Dkt. No. 32 (making the same argument, but

referring to the patient inconsistently as “M.D.” and “M.G.”). Medwin’s Motion for

Summary Judgment concludes by stating that the Secretary has applied the LCD and

documentation requirements randomly, and that the Secretary has “abused its

discretion in denying some claims after having concluded that other identical claims

meet the LCD and Medicare reimbursement requirements.” Dkt. No. 24 at 19.

       In its Response to the Secretary’s Cross Motion for Summary Judgment,

Medwin makes several new arguments. First, Medwin argues that the Secretary has

interpreted LCD L26776 in such a way as to render meaningless, the provision setting

the maximum limits per patient, per year, for tests 95903 and 95904. Dkt. No. 30 at 2-

4. Medwin states that the Secretary’s “argument is essentially that the only limit for

CPT 95903 and 95904 is 2 tests per code for the diagnosis of sciatica.” Id. at 3. Thus,


10 Medwin also refers to patient “D.B.” to support its argument that the Secretary applies
LCD L26776 in an inconsistent manner, though Medwin does not elaborate on how D.B’s
records support its argument. Dkt. No. 24 at 18.
                                                                                    17/35
by interpreting LCD L26776 so as to allow for only two tests per “code” for sciatica,

Medwin claims that the Secretary has set the yearly limit at two tests per patient, per

year for sciatica, instead of the actual eight tests per patient, per year for test 95903,

and ten tests per patient, per year for test 95904. Id. Medwin asserts that this

construction nullifies the portion of LCD L26776 which sets the annual limits for each

test.   Id. at 2-4.   Medwin states that the Court should find that the Secretary’s

decision is arbitrary and capricious because it depends on an incorrect interpretation

of LCD L26776. Id. Further, Medwin claims that the Secretary cannot justify its

decision by arguing that substantial evidence supports it because Medicare’s

provisions are so voluminous and incoherent that it is clear the Secretary herself does

not understand them. Id. at 1-2, 9.

        Second, Medwin takes issue with the Secretary’s summary judgment argument

that Medwin failed to justify the testing it provided on a “single date of service.” Dkt.

No. 30 at 4 (quoting Dkt. No. 27 at 19). The Secretary’s argument regarding testing

provided on single dates of service is as follows:

               As noted by the Council, Plaintiff fails to acknowledge the per-
        study coverage criteria for NCS testing, let alone establish a nexus
        between the beneficiaries’ clinical records and the relevant criteria. See
        AR 13.     Plaintiff did not acknowledge or submit the Utilization
        Guidelines, supra, at 17, which establishes limits of the number of test
        deemed medically reasonable and necessary to evaluate certain
        diagnoses. AR 13. The Council further notes the LCD Utilization
        Guidelines are clear as to the maximum number of sites that may be
        billed to Medicare for the 95904 and 95903 codes on a particular date of
        service and diagnosis. Id.

              Conversely, in all of the statements of medical necessary provided
        by Plaintiff, as composed by Dr. Surya Raguthu, there is no mention of
        the LCD’s per-study coverage criteria. See generally AR 1264, AR 1276,
        AR 1290, AR 1300, AR 1308, AR 1327. Dr. Raguthu provides no clinical

                                                                                     18/35
      explanation as to why additional testing sites were required for the
      studies at issue. Id. In fact, he does not mention the testing criteria at
      all in any of the statements of medical necessity. Id. Instead, Dr.
      Raguthu misstates the beneficiaries’ NSC procedure codes were denied
      because “[the] documentation does not support care provided to patient.”
      Id. Most notably, Dr. Raguthu’s statements contain no justification for
      providing each beneficiary a year’s worth of electrodiagnostic testing on a
      single date of service. Id.

Dkt. No. 27 at 18-19 (errors in original). In response to the Secretary’s argument here,

Medwin alleges as follows:

      The Secretary criticizes Dr. Ragthu’s correspondence in one of the lower
      proceedings for allegedly containing, “no justification for providing each
      beneficiary a year’s worth of electrodiagnostic testing on a single
      date of service.” Id. at 18-19 (emphasis added). The Secretary is simply
      mistaken in her “year’s worth of electrodiagnostic testing” assertion. Her
      record citation to “AR 1264, AR 1276, AR 1290, AR 1300, AR 1308, AR
      1327” evidences correspondence related to 4 Sensory Nerves and 4 Motor
      Nerves. LCD 26776 provides in part, “Medicare will reimburse for the
      following numbers of tests per year per patient: . . . 95903 – eight/year[;]
      95904 – ten/year . . .” See Defendant’s Exhibit G, p.26 (Doc. No. 25-8)
      (emphasis added). Four is less than eight or ten. The Secretary’s
      contention that four sensory and four nerve tests is “a year’s worth of
      eltrodiagnostic testing” exemplifies the Secretary’s arbitrary and
      capricious position of picking numbers at random.

Dkt. No. 30 at 4-5 (errors in original).

      Third, Medwin elaborates upon its position that it performed bilateral testing

on its six patients because it was medically necessary. Dkt. No. 30 at 5. It states that,

“[t]esting only one nerve and then another is not how nerves are tested.” Id. In

support of this argument, Medwin relies upon “LCD L31346 issued by Wisconsin

Physician Services[.]”   Id.   Among other things, Medwin states that LCD L31346

provides:

      Most nerves have a contralateral counterpart; bilateral testing is often
      necessary for comparison purposes. Nerves on each side may be billed
      separately. In addition, motor CPT code 95900 or 95903, sensory CPT

                                                                                     19/35
      code 95904, and mixed sensory CPT code 95904 studies on an individual
      nerve are appropriately carried out and billed separately.

Id. (emphasis in original).

      Fourth, Medwin states that the language of LCD L26776 reveals that it is no

substitute for the judgment of the treating, diagnosing physician. Dkt. No. 30 at 5-6.

The LCD “provides exceptions for ‘medically warranted’ services based on a ‘patient’s

medical record.’” Id. at 6 (quoting Dkt. No. 25-8, which contains LCD L26776 in its

entirety).11 Despite this, Medwin contends that the Secretary applies LCD L26776 as

if “she and her underlings define the standard of care and the reasonableness and

necessity of medical services with omniscient authority.” Id. Medwin asserts that it

provided medical records demonstrating the medical necessity of the additional tests.

Id. It argues that the Secretary should not apply LCD L26776 “uniformly without

regard to the clinical presentation of each unique patient.” Id.

      Fifth, Medwin argues that its physician, Dr. Raguthu, conducted additional

tests for all six patients, in part, to help him rule out neuropathy, or differentiate

between neuropathy and radiculopathy. Dkt. No. 30 at 6-7 (citing at AR 1278, 1284,

1295, 1300, 1310, 1327, 1329). Medwin states that LCD L26776 provides limits for

diagnosing neuropathy, and that Medwin’s tests did not exceed these limits. Id. at 7.

      According to LCD 26776, the “general limit” for diagnosing neuropathy is
      4 tests for CPT 95904 and 2 tests for CPT 95903. See Defendant’s Exhibit
      G, p.26 (Doc. No. 25-8). Thus, even under the Secretary’s erroneous
      reading that LCD 72776’s general limits provision provides the only
      limitation, Medwin was entitled to reimbursement for 4 tests per

11 Medwin’s cites Dkt. No. 25-8 as the exhibit containing LCD L26776. Dkt. No. 30 at 6. In
this Report, however, the Court will refer to the exhibit containing LCD L26776 (see Dkt. No.
27-7), which is attached to the Secretary’s live Cross Motion for Summary Judgment, rather
than the exhibit (Dkt. 25-8) attached to her Motion to file Cross Motion for Summary
Judgment in Excess of 20 pages.
                                                                                       20/35
       beneficiary for six beneficiaries under CPT 95904 regarding a diagnosis of
       or to rule out neuropathy.

Id. (errors in original).     Thus, because its testing did not exceed the limits for

radiculopathy and neuropathy testing, Medwin contends that the Secretary’s decision

denying payment for the tests is: (1) unsupported by substantial evidence; (2)

unsupported by correct legal standards; and, (3) arbitrary and capricious. Id.

       Sixth, Medwin argues that its nerve conduction testing (“NCS testing”) was

medically necessary.

       NCS testing is required for a clinical diagnosis of peripheral nervous
       system disorders. See for example AR 110. Additionally, for M.V. the
       patient had bilateral S.I. joint/ligament pain, (AR 000119), which made it
       appropriate and medically necessary to test two nerves bilaterally as
       opposed to one nerve bilaterally or two nerves unilaterally. For R. F.
       bilateral testing of two nerves was medically necessary as evidenced by
       the abnormal findings. AR 381. As explained, the intensity and extent of
       nerve testing is a matter of clinical judgment and are patient specific. AR
       375. R.F’s testing was medically necessary to evaluate her medical
       complaints. For E.P. the testing was medically necessary to determine
       proper medical treatment options. AR 553. For D.V. the testing was
       medically necessary to rule in or out failed back syndrome. AR 759. For
       J.A. and R.M. the testing was conducted to evaluate radiculopathy versus
       neuropathy and the patient had both. AR 921 and AR 1159. The medical
       records establish that all of the sensory testing was necessary for proper
       diagnosis and treatment.

Id. at 7-8 (errors in original).

       Seventh, Medwin argues that it “had a good faith basis” for its billing

“given the conflict between Medicare’s determination and conflicting LCDs.”

Dkt. No. 30 at 8. Medwin contends that the governing provisions of Medicare

also lack clarity. Id. at 8-9. Because of this, Medwin suggests that it should be

considered “‘without fault’ for any overpayment” pursuant to 42 U.S.C.



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§ 1395gg(b). Dkt. No. 1 at ¶ 34. In support of this argument, Medwin contends

as follows:

      According to Medicare national Coverage Determination Manual,
      Chapter 1, Part 2, Section 160.23 – Sensory Nerve Conduction Threshold
      Test (sNCTs) (Effective April 1, 2004), attached as Exhibit #, p. 82-83,
      “All uses of sNCT to diagnose sensory neuropathies or radiculopathies
      are noncovered.” But then, there is LCD 26776, effective for services
      performed on or about January 1, 2012. See Defendant’s Exhibit G, p.2
      (Doc. No. 25-8). There is also LCD L31346, which recognizes the need for
      bilateral testing and 3 motor tests and 2 sensory tests for the diagnosis of
      radiculopathy. See Exhibit 1. The differences between LCD 26776 and
      L31346 evidence a level of subjectivity in arriving at testing limits.
      Accordingly, Medwin had a good faith belief that its testing was in
      accordance with LCD 26776 because it was well documented and within
      the real maximum limits.

Id. (errors and emphasis in original). Medwin adds that the Secretary cannot correctly

argue that the Council had substantial evidence to make a determination about

Medwin’s good faith by assessing its credibility because “there was no in-person

hearing to access demeanor.” Id. at 8 (errors in original).



                                    IV. Discussion

      At the threshold, the Court notes that the parties have devoted a significant

amount of briefing in this case to arguing over whether Medwin should be allowed to

“complete” or “supplement” the administrative record with evidence unrelated to the

six patients at issue here (hereinafter referred to as the “contested evidence”). See

Dkt. No. 16, Dkt. No. 18, Dkt. No. 24 at 16-19, Dkt. No. 31 at 1-8, Dkt. No. 32 at 5-10,

Dkt. No. 33 at 1-8. The Court summarized Medwin’s arguments regarding this issue

briefly above, but finds no need to summarize the parties’ arguments in more detail.

As will be shown below, even assuming that Medwin may rely on the contested

                                                                                     22/35
evidence, a review of the contested evidence reveals that Medwin is not entitled to

relief.12

       Contrary to Medwin’s claims, the contested evidence does not support Medwin’s

contention that the Council applied legal standards randomly or incorrectly, nor does

it show that the Secretary’s decision is unsupported by substantial evidence. As the

Secretary notes, her disposition of other claims is irrelevant because each Medicare

claim presents different evidence. Dkt. No. 31 at 7. Therefore, even if two or more

patients are evaluated for the same condition and receive the same number and type

of tests, this fact alone is not dispositive. Dkt. No. 18 at 4.

       Each claim stands on its own merits as to whether it should be allowed or
       denied based on the evidence found within the medical records used to
       substantiate that specific claim. Whether to allow or deny a claim turns
       on the specific facts surrounding the claim. The allowance of a claim
       under one set of facts does not become a blanket approval for every other
       claim submitted for the same service under a different set of facts. Every
       claim must be judged on its own merits.

Id.

       Here, the contested evidence Medwin relies upon is found in an exhibit attached

to its Motion for Summary Judgment.           Dkt. No. 24-1 (“Exhibit 1”).       This exhibit

contains records for “M.G.” Id. Again, with respect to these records, Medwin states:

       [Medwin] refers to the appeal relating to M.G. AR 001208 and 001213.
       The claim was originally denied by Novitas, but the Qualified
       Independent Contractor, Q2 Administrators, determined that the claim
       was not overpaid. See Exhibit 1. Furthermore, the QIC determined that
       the LCD requirements had been met. Id. That same QIC denied claims
       for the same testing and for the same indication in the appeals made the
       basis of this lawsuit.     The decision to deny claims after having


12 The Court notes here that it is not finding that Medwin has the right to submit the
contested evidence, it is merely finding that the contested evidence is immaterial because it
does not alter the Court’s conclusion that Medwin has failed to show an entitlement to relief.
                                                                                          23/35
      determined similar claims are payable is an abuse of discretion, arbitrary
      and capricious.

Id. at 16 (errors in original, emphasis added). See also Dkt. No. 32 (making the same

argument, but referring to the patient inconsistently as “M.D.” and “M.G.”).

      The flaw in Medwin’s argument here is that it fails to account for the fact that

M.G.’s medical records are not materially identical to the medical records of the six

patients at issue in this case. Compare Dkt. No. 24-1 at 1-2, with AR at 1264-1282,

1288-1233. Similarly, Medwin has not shown that the two patients whose claims were

paid had records materially identical to the six patients at issue here. This matters

because two patients may receive the exact same tests for the exact same indication,

but one patient’s medical records may show that the testing was medically reasonable

and necessary, whereas the other patients’ records may not.            Medwin has not

demonstrated that the six patients claims were denied, whereas other claims were

approved, based upon materially identical facts. By asking the Court to reverse the

Secretary’s decision, Medwin is asking the Court to reweigh the evidence and

substitute its judgment for that of the Secretary.        The Court cannot accede to

Medwin’s request and still follow the well-established authority of this Circuit. See

Hollis v. Bowen, 837 F.2d 1378, 1383 (noting that the reviewing court “may neither

reweigh the evidence in the record nor substitute [its own] judgment for the

Secretary’s.”) (citing Neal v. Bowen, 829 F.2d 528, 530 (5th Cir. 1987)).

      The above-discussed flaw in Medwin’s argument pervades its briefing. Again,

Medwin argues that the six patients at issue here were all being evaluated for the

same condition, radiculopathy. Dkt. No. 24 at 15. Despite this, for four patients, “the


                                                                                   24/35
Agency determined that 3 motor nerves should be tested[,]” while for “one of the

patients the Agency determined that 4 motor nerves should be tested.” Id. Medwin

insists that this constitutes evidence that the Secretary’s decision is unsupported by

correct legal standards and substantial evidence. Id. at 19. Additionally, Medwin

argues that this constitutes evidence that the Secretary applies legal standards

arbitrarily and capriciously. Id. Here again, however, Medwin has failed to eliminate

the possibility that differences in each patient’s medical records explain the differences

in coverage.

      The flaws in Medwin’s remaining arguments are similarly fatal to its Motion for

Summary Judgment. Medwin argues that the Secretary has interpreted LCD L26776

in such a way as to render meaningless, the provision setting the maximum limits per

patient, per year, for tests 95903 and 95904. This argument is not supported by the

record.   In its decision, the Council specifically noted that, despite the yearly

maximums, Medwin still had to justify its testing per diagnosis on a particular date of

service. AR at 13. As the Council stated:

      The Council does not find that [Medwin] has adequately documented the
      need for testing additional sites greater than the numbers indicated in
      the Utilization Chart attached to LCD L26776. . . . The attachment to the
      LCD is clear, however, as to the maximum number of sites that may be
      billed to Medicare for the 95904 and 95903 codes on a particular date of
      service and diagnosis. In each instance, for a diagnosis of sciatica,
      [Medwin] exceeded the maximum number of tests needed to diagnose
      each beneficiary’s condition. See LCD L26776. The medical records
      provided by [Medwin] do not explain why the additional testing was
      medically necessary. Exh. MAC-3.

Id. (emphasis added). Requiring Medwin to justify additional testing per diagnosis,

does not amount to a nullification of LCD L26776’s provision setting the maximum


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yearly limits for tests 95903 and 95904.     A patient could, for example, be tested

numerous times throughout a year without exceeding LCD L26776’s yearly or per

diagnosis testing limits.     Conversely, a patient could exceed LCD L26776’s per

diagnosis testing limits on a particular date of service, without exceeding LCD

L26776’s yearly limits for the same tests. In yet a third scenario, a patient could

exceed LCD L26776’s yearly testing limits, while not exceeding LCD L26776’s limits

for a diagnosis on a particular date of service. Medwin’s argument is logically flawed

and does not demonstrate that the Secretary’s decision is unsupported by correct legal

standards or substantial evidence.

      Medwin also attacks the Secretary’s “year’s worth of electrodiagnostic testing on

a single date of service” argument. Dkt. No. 30 at 4-5. Again, in its Cross Motion for

Summary Judgment, Medwin states:

      The Secretary criticizes Dr. Ragthu’s correspondence in one of the lower
      proceedings for allegedly containing, “no justification for providing each
      beneficiary a year’s worth of electrodiagnostic testing on a single
      date of service.” Id. at 18-19 (emphasis added). The Secretary is simply
      mistaken in her “year’s worth of electrodiagnostic testing” assertion. Her
      record citation to “AR 1264, AR 1276, AR 1290, AR 1300, AR 1308, AR
      1327” evidences correspondence related to 4 Sensory Nerves and 4 Motor
      Nerves. LCD 26776 provides in part, “Medicare will reimburse for the
      following numbers of tests per year per patient: . . . 95903 – eight/year[;]
      95904 – ten/year . . .” See Defendant’s Exhibit G, p.26 (Doc. No. 25-8)
      (emphasis added). Four is less than eight or ten. The Secretary’s
      contention that four sensory and four nerve tests is “a year’s worth of
      eltrodiagnostic testing” exemplifies the Secretary’s arbitrary and
      capricious position of picking numbers at random.

Dkt. No. 30 at 4-5 (errors in original).

      In the Secretary’s “Reply to Plaintiff’s Response in Opposition to Defendant’s

Motion for Summary Judgment” (hereinafter, the Secretary’s “Reply”), the Secretary


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acknowledges that its Cross Motion for Summary Judgment contains an error. Dkt.

No. 33 at 6, note 4 (referring to Dkt. No. 27 at 19). Specifically, the Secretary notes

that her reference to “a year’s worth of electrodiagnostic testing on a single date of

service” was a “misstatement.”       Id.   Nevertheless, the Secretary’s underlying

argument is not dependent on its misstatement. The gravamen of the Secretary’s

argument is that, before the Council, Medwin failed to explain why additional testing

was done, per diagnosis on a single date of service, beyond that permitted by LCD

L26776. See Dkt. No. 27 at 18-19.

       Medwin argues that it provided statements of medical necessity to the Council

for each of its six patients, and that these statements demonstrate that the additional

testing was, in fact, medically justified. Dkt. No 30 at 5-8. The statements Medwin is

referring to, however, do not explain why the additional testing was done, per

diagnosis on single dates of service, beyond that permitted by LCD L26776. See AR

1264, 1276, 1290, 1300, 1308, 1327. Instead, the statements of medical necessity for

each of the six patients all make general statements regarding the appropriateness

and necessity of the testing. Id. In addition, these statements each provide as follows:

       As mentioned procedure codes 95900 (4 units), 95903 (4 units) & 95904 (2
       units) which have been denied stating documentation does not support
       care provided to patient. I request you to review medical records again
       (find attached progress notes for Electromyography) and where following
       nerves have been tested.

Id. (errors in original).

       Rather than providing an individual explanation as to why each patient

required additional testing per diagnosis, then, the statements of medical necessity

merely implore the Council to look at each patient’s medical records again. AR 1264,

                                                                                   27/35
1276, 1290, 1300, 1308, 1327. As the Council and the parties correctly note,13 these

records were already a part of the record, and had already been reviewed by the

Agency. See AR at 108-122, 373-385, 543-556, 749-762, 914-925, 1151-1163.

       The Secretary argues that Medicare providers bear the burden of demonstrating

medical necessity and entitlement to payment. Dkt. No. 27 at 15. The Secretary is

correct.   See Clinic Res. Mgmt. v. Burwell, Civil Action No. H-14-578, 2015 WL

3932657, at *2 (S.D. Tex. June 26, 2015) (citing “42 U.S.C. § 13951(e); 42 C.F.R.

§ 424.5(a)(6); Friedman v. Sec'y of Dep't of Health and Human Servs., 819 F.2d 42, 45

(2d Cir. 1987)”). Before the Council, Medwin failed to explain why the additional

testing was done for its six patients, per diagnosis on single dates of service, beyond

that permitted by LCD L26776. AR at 1262-1333. Further, prior to the Council’s

review, Medwin had not provided the Agency with an explanation as to why the

additional testing was done for its six patients, per diagnosis on single dates of service,

beyond that permitted by LCD L26776. See AR at 108-122, 373-385, 543-556, 749-762,

914-925, 1151-1163.      Instead, Medwin provided more general justifications for its

testing — stating, for instance, that its testing was justified as a matter of clinical

judgment. Id. at 110, 375, 545, 751, 917, 1153.

       Accordingly, the Council’s conclusion, that Medwin failed to explain the

additional testing (see AR at 12-13), is supported by correct legal standards and

substantial evidence. See AR at 108-122, 373-385, 543-556, 749-762, 914-925, 1151-


13 AR at 12 (containing the Council’s reference to the records as records “previously sent to the
QIC”); Id. at 1263, 1275, 1289, 1299, 1307, 1326 (containing Medwin’s statement that the
medical records were previously provided in the prior appeal” and were “not new evidence”)
(emphasis in original); Dkt. No. 27 at 15 (containing the Secretary’s reference to the records as
“previously submitted medical records”).
                                                                                            28/35
1163, 1262-1333; 42 C.F.R. § 424.5(a)(6) (stating that Medicare providers bear the

burden of demonstrating medical necessity and entitlement to payment); Clinic Res.

Mgmt. v. Burwell, Civil Action No. H-14-578, 2015 WL 3932657, at *2 (same). The

Secretary has, therefore, met her burden under Rule 56 and is entitled to summary

judgment.

      Medwin cannot remedy its failure before the Council now, by attempting to

introduce new arguments to the Court to explain the medical necessity of the

additional tests. “A reviewing court usurps the agency’s function when it sets aside

the administrative determination upon a ground not theretofore presented and

deprives the [agency] of an opportunity to consider the matter, make its ruling, and

state the reasons for its action.” Unemployment Comp. Comm'n of Alaska v. Aragon,

329 U.S. 143, 155 (1946); W. Virginia Dep't of Health & Human Res. v. Sebelius, 709 F.

Supp. 2d 487, 493 (S.D. W. Va. 2010), aff'd, 649 F.3d 217 (4th Cir. 2011) (same).

      In reviewing an administrative-agency decision, a court should not
      consider arguments that were not raised before the agency. This is
      particularly true when the issue raised would require fact-finding by the
      agency and in cases where “the Secretary’s expertise is relevant” to a
      resolution of the issue. Pleasant Valley Hosp., Inc. v. Shalala, 32 F.3d 67,
      70 (4th Cir. 1994); see also Delta Foundation, Inc. v. United States, 303
      F.3d 551, 560 (5th Cir. 2002) (“The rationale for requiring issue
      exhaustion is that parties should have an opportunity to offer evidence
      before the administrative agency charged with the fact finding
      responsibility.”).

W. Virginia Dep't of Health & Human Res. v. Sebelius, 709 F. Supp. 2d 487, 493.

      Here, several of Medwin’s arguments before the Court constitute new

arguments of medical necessity that were not presented to the Council. For example,

Medwin argues that the additional tests per diagnosis were necessary to help Dr.


                                                                                     29/35
Raguthu rule out neuropathy, or differentiate between neuropathy and radiculopathy.

Dkt. No. 30 at 6-7. This may be true. Four of the letters of medical necessity Dr.

Raguthu provided mentioned neuropathy in addition to radiculopathy. AR at 1276,

1300, 1308, 1327. Most of the six patients’ medical records contained some mention of

radiculopathy and neuropathy. See, e.g., id. at 1278, 1295, 1305, 1310, 1321, 1329.

Finally, the medical records for R.F., J.A. and R.M. state that the “EMG & nerve

conductions are done to rule out radiculopathy versus peripheral neuropathy.” Id. at

1278, 1310, 1329.   Nevertheless, there is no evidence in the record that Medwin

argued, before the Council, that the additional tests were necessary, per diagnosis on

particular dates of service, to help Dr. Raguthu rule out neuropathy, or differentiate

between neuropathy and radiculopathy. Moreover, the record reveals that Medwin

never presented the Agency with the evidence showing that the additional tests per

diagnosis were necessary to help Dr. Raguthu rule out neuropathy, or differentiate

between neuropathy and radiculopathy.

      In appealing the QIC’s decisions to the Council, Medwin provided six

statements of medical necessity.   AR 1264, 1276, 1290, 1300, 1308, 1327.       These

statements of medical necessity implored the Council to look at the patients’ medical

records again. Id. But, these statements did not explain that the additional tests

were necessary to help Dr. Raguthu rule out neuropathy, or differentiate between

neuropathy and radiculopathy.      Id.   As already noted above, these statements

provided no explanation as to why additional testing was done, per diagnosis on a

single date of service, beyond that permitted by LCD L26776. Id. This is critical

because, as the Council pointed out in its decision, the QIC explicitly denied payment

                                                                                 30/35
due to Medwin’s failure to explain “the numbers of sites tested, on a particular date of

service, for a specific diagnosis.”   Id. at 13.   Having failed to correct this same

deficiency before the Council, then, the Council adopted the QIC’s decision. See id.

(noting that Medwin failed to “explain why the additional testing was medically

necessary.”). Medwin has not shown that the Council’s decision was unsupported by

substantial evidence or correct legal standards.

      Medwin’s other new medical necessity arguments fail for the same reason.

Medwin contends that the additional testing was justified because bilateral testing

was medically necessary. Dkt. No. 30 at 5. Medwin also asserts that its NCS testing

was medically necessary to diagnose other conditions such as “failed back syndrome.”

Id. at 8. Medwin did not present these arguments to the Council to explain why

additional testing was done, per diagnosis on a single date of service, beyond that

permitted by LCD L26776.        Accordingly, the Court may not use Medwin’s new

arguments to reverse the Secretary’s decision. See Unemployment Comp. Comm'n of

Alaska v. Aragon, 329 U.S. 143, 155 (“A reviewing court usurps the agency’s function

when it sets aside the administrative determination upon a ground not theretofore

presented and deprives the [agency] of an opportunity to consider the matter, make its

ruling, and state the reasons for its action.”); W. Virginia Dep't of Health & Human

Res. v. Sebelius, 709 F. Supp. 2d 487, 493 (“In reviewing an administrative-agency

decision, a court should not consider arguments that were not raised before the

agency. This is particularly true when the issue raised would require fact-finding by




                                                                                  31/35
the agency and in cases where “the Secretary’s expertise is relevant” to a resolution of

the issue.”) (citations omitted).14

       Next, Medwin states that it “had a good faith basis” for its billing “given the

conflict between Medicare’s determination and conflicting LCDs.” Dkt. No. 30 at 8.

Medwin contends that the governing provisions of Medicare also lack clarity. Id. at 8-

9. Because of this, Medwin suggests that it should be considered “‘without fault’ for

any overpayment” pursuant to 42 U.S.C. § 1395gg(b). Dkt. No. 1 at ¶ 34. There is,

however, no evidence that Medwin made this argument before the Council.                The

Council’s decision also indicates that Medwin did not raise this argument. AR at 13.

Citing 42 C.F.R. § 405.1112(c), the Council stated that it would adopt “the QIC’s

findings regarding liability without further discussion[,]” as Medwin had “not raised

any exceptions before the Council regarding its liability[.]” Id. Section 405.1112(c)

provides that the Council “will limit its review of an ALJ’s actions to those exceptions

raised by the party in the request for review, unless the appellant is an unrepresented

beneficiary.” 42 C.F.R. § 405.1112(c); see also Momentum EMS, Inc. v. Sebelius, No.

4:11-CV-298, 2014 WL 199061, at *12–13 (S.D. Tex. Jan. 13, 2014) (noting that,

pursuant to 42 CFR § 405.1112(c), the scope of the Council’s review is limited to “those

exceptions raised by the party in the request for review”).             Medwin was not

unrepresented before the Council. See AR at 1261. Thus, having failed to show that it

raised the issue of its lack of fault before the Council, Medwin has not shown that the

Council erred in failing to consider its lack of fault under 42 U.S.C. § 1395gg(b).

14  In support of its argument that bilateral testing was medically necessary, Medwin also
relies upon “LCD L31346 issued by Wisconsin Physician Services[.]” Dkt. No. 30 at 5. As the
Secretary correctly points out, however, LCD L31346 does not apply in Texas. See Dkt. No. 33
at 8; Dkt. No. 33-2 at 2-5.
                                                                                       32/35
Relatedly, Medwin may not raise the issue now because it did not raise the issue

before the Council. See Unemployment Comp. Comm'n of Alaska v. Aragon, 329 U.S.

143, 155; W. Virginia Dep't of Health & Human Res. v. Sebelius, 709 F. Supp. 2d 487,

493.15

         Medwin also contends that the Secretary cannot correctly argue that the

Council had substantial evidence to make a determination about Medwin’s good faith

in billing by assessing its credibility because “there was no in-person hearing to access

demeanor.” Dkt. No. 30 at 8 (errors in original). It is true that no in-person hearing

occurred. See AR at 2-14. But, it is also true that the Council did not base its decision

on Medwin’s credibility, or make any findings about Medwin’s credibility.                Id.

Therefore, Medwin’s argument here does highlight a poor choice of words in the

Secretary’s briefing before this Court. See Dkt. No. 27 at 22 (“[T]he Council found,

based upon the substantial evidence, that Plaintiff was not credible in asserting that it

had a reasonable basis for believing that Medicare payment for the electrodiagnostic

services was proper.”). Medwin’s argument, however, does not expose an error in the

Secretary’s final decision.

         Medwin’s remaining arguments contain numerous critiques of the Secretary’s

decision and Medicare’s provisions. As summarized more fully above, Medwin claims

that: (1) the Secretary applies LCD L26776 as if “she and her underlings define the

standard of care and the reasonableness and necessity of medical services with


15 The Secretary argues that Medwin’s assertions about its lack of fault in billing are also
incorrect. See Dkt. No. 27 at 7-8, 19-22. The Court has reviewed the Secretary’s arguments
and finds them to be largely correct. Though, as noted above, the Court need not
substantively address Medwin’s arguments concerning its fault because, in addition to being
insufficiently briefed, Medwin’s arguments were not presented to the Council.
                                                                                       33/35
omniscient authority[;]” (2) in applying LCD L26776 this way, the Secretary has

invaded the province of the treating/diagnosing physician and disregarded each

patient’s medical records and clinical presentation; (3) the Secretary does not

understand Medicare’s provisions, and the provisions lack clarity; and, (4) due to this

lack of understanding and clarity, the Secretary’s application of Medicare’s provisions

was arbitrary and capricious, legally incorrect, and unsupported by substantial

evidence. Dkt. No. 30 at 1-2, 4-6, 8-9.

      Medwin has provided no authority to transform these general criticisms into

arguments entitling it to relief.     The Court’s role is limited to two inquiries: (1)

determining whether the Secretary applied the correct legal standards; and (2)

determining whether there is substantial evidence in the record to support the

Secretary’s decision. Estate of Morris v. Shalala, 207 F.3d 744, 745. Medwin has not

identified any legal errors in the Secretary’s decision, nor has it shown that

substantial evidence fails to support her decision. Moreover, for the reasons provided

above, the Secretary’s decision is supported by correct legal standards and substantial

evidence. It is, therefore, recommended that the Court: (1) grant the Secretary’s Cross

Motion for Summary Judgment; (2) deny Medwin’s Motion for Summary Judgment;

and, (3) dismiss this civil action with prejudice.



                                 V. Recommendation

      For the foregoing reasons, it is recommended that the Court: (1) grant the

Secretary’s Cross Motion for Summary Judgment; (2) deny Medwin’s Motion for

Summary Judgment; and, (3) dismiss this civil action with prejudice.

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                                VI. Notice to Parties

      A party’s failure to file written objections to the proposed findings, conclusions,

and recommendation in a magistrate judge’s report and recommendation within

fourteen days after being served with a copy shall bar that party, except upon grounds

of plain error, from attacking on appeal the unobjected-to proposed factual findings

and legal conclusions accepted by the district court, provided that the party has been

served with notice that such consequences will result from a failure to object.

Douglass v. United Services Auto. Ass’n, 79 F.3d 1415 (5th Cir. 1996).

      Signed on this 31st day of January, 2017.




                                              ______________________________
                                              Ignacio Torteya, III
                                              United States Magistrate Judge




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